









Petition for Writ of Mandamus Dismissed in Part and Denied in Part and
Memorandum Opinion filed December 18, 2003









Petition for Writ of Mandamus Dismissed
in Part and Denied in Part and Memorandum Opinion filed December 18, 2003.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01350-CV

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&nbsp;

IN RE LEE NICHOLS MCNAB MILLER, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On December 2, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; Relator&nbsp; seeks relief from
the actions of two judges who presided in the 179th District Court, the current
and former Harris County District Attorney, and Anumerous unknown enforcement agencies
nationwide.@

This court is empowered to issue writs of mandamus against
judges of district courts, but may not issue writs against other parties unless
necessary to enforce our jurisdiction.&nbsp; Tex. Gov=t Code Ann. ' 22.221(a)-(b) (Vernon Supp.
2003).&nbsp; Because relator
does not allege that the District Attorney and the unspecified law enforcement
agencies are interfering with this court=s jurisdiction, we must dismiss the
proceeding, as it relates to these parties, for lack of jurisdiction.&nbsp;&nbsp; 








As to the judges of the 179th District Courts, relator seeks to enforce suppression with expunction of
alleged illegally-seized evidence that relator
believes could be used against him in future proceedings.&nbsp; Relator has not met
his burden of presenting a sufficient record to establish his entitlement to
mandamus relief.&nbsp; See Walker v. Packer,
827 S.W.2d 833, 837 (Tex. 1992).&nbsp; Accordingly, as the petition concerns judges
of the 179th District Court, we deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition
Dismissed in Part and Denied in Part and Memorandum Opinion filed December 18,
2003.

Panel consists of
Justices Yates, Hudson, and Fowler.





